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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )      4:18CR00303- BSM
                                                      )
JERRON VINCENT TAYLOR                                 )


              SECOND MOTION FOR PRETRIAL RELEASE REVOCATION

       The United States of America, by and through its attorney, Cody Hiland, United States

Attorney for the Eastern District of Arkansas and Chris Givens, Assistant United States Attorney

for said district, moves to revoke defendant Jerron Vincent Taylor’s pretrial release and, in

support of its motion, states:

       1.       The defendant was indicted on June 6, 2018, and released on pretrial conditions

January 22, 2019.

       2.       Among the conditions of bond was the requirement that the defendant not commit

any violations of state, local or federal law, must not use or possess any controlled substances,

must not possess any firearms, submit to supervision and report for supervision to the U.S.

Probation Office, submit to drug testing as requested by his supervising officer, participate in

drug treatment as required by his supervising officer, and maintain regular contact and report to

his supervising probation officer.

       3.       On March 7, 2019, the United States filed a motion to revoke Taylor’s pretrial

bond after he tested positive for numerous controlled substances, numerous times, and was

discharged from residential treatment at Crowley’s Ridge Development Council in Jonesboro,

Arkansas, as a program failure. Following a revocation hearing on March 27, 2019, and upon


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agreement from the parties, Taylor’s conditions were modified to allow him to enter residential

treatment at Freedom House, to be followed by chemical-free living. Trial is set for July 22,

2019.

        4.       On April 19, 2019, the defendant was terminated as a program failure from

residential treatment at Freedom House residential substance abuse treatment facility following

multiple violations.

        THEREFORE, based on the defendant’s continued violations of pretrial release as

described above, the United States moves that a summons for the defendant be issued and the

defendant appear before this court to show cause why her conditions of release should not be

revoked.



                                                     CODY HILAND
                                                     United States Attorney

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